                 UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


IN THE MATTER OF

                                         BANKRUPTCY NO: 06-56983
                                         HONORABLE: SWR
                                         CHAPTER:      13
          Debtor(s)

 LISA A. VANOVER CHARLES R. VANOVER AND



                               CERTIFICATE OF SERVICE

        I hereby certify that on 12/7/2006 , I electronically filed the foregoing COUNTY
TREASURER'S PROOF OF CLAIM and PROOF OF SERVICE with the Clerk of
the Court using the ECF system which will send notification of such filing to the following:

  FIREBAUGH SAMUEL ,
38545 FORD SUITE 104 WESTLAND MI 48185

TRUSTEE-KRISPEN CARROLL CARROLL KRISPEN,
719 GRISWOLD 1100 DIME BLDG. DETROIT MI 48226

and I hereby certify that I have mailed by United States Postal Serivce the COUNTY
TREASURER'S PROOF OF CLAIM and PROOF OF SERVICE to the following
non-ECF participants.




                                            THERESA M. COSTA, an employee of
                                            The Office of the County Treasurer
                                            400 Monroe, Suite 520
                                            Detroit, MI 48226-2942
                                            (313) 224-5957
                                            bankruptcy@co.wayne.mi.us


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